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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AMAZON.COM, INC., a Delaware corporation; et al., NO. 2:23-cv-01879-JLR
Plaintiff(s), AFFIDAVIT OF SERVICE OF: SUMMONS IN A
Vs. CIVIL ACTION; COMPLAINT FOR DAMAGES AND

INJUNCTIVE RELIEF.
DOES 1-20, unknown parties doing business as

“REKK,”: et al.,

Defendant(s).
STATE OF NEW JERSEY )

) ss.
COUNTY OF BERGEN )

The undersigned, being first duly sworn, on oath states:

That | am now, and at all times herein mentioned, was a citizen of the United States and a
resident of the State of New Jersey, over the age of 18 years, not a party to or interested in the above
entitled action, and am competent to be a witness therein.

That at 11:56 A.M. on December 13", 2023, at 120 Weinmanns Boulevard, Wayne, New Jersey, |
duly served the above-described documents in the above-described matter upon James Garofalo, by then
and there personally delivering a true and correct copy thereof by leaving the same with William
Garofalo, father and resident of suitable age and discretion and co-resident, being a Caucasian male,
approximately 71 years old, 5’8, 217lbs and with white hair, who confirmed that they both reside here.

CPE

"ANTHONY IAVARONE
Service Fees: D
Ferry tolls: SUBSCRIBED AND SWORN to before me onxt7€C. l q, 03
Travel:
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Aff./Notary Fee: SFO eS fA
Special Fee: SMF “eo. CE NOTARY PUBLIC in and for th Sia
Wait: = qtis ae Zi9= of New Jersey residing at: son C
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TOTAL (see invoice) 2 A, SESS
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